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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 NO. 4:09CR00299 JLH

TYRONE AIKENS                                                                   DEFENDANT


                                           ORDER

       The government has filed a motion to dismiss the indictment against defendant Tyrone

Aikens due to his death on July 1, 2010. The motion is GRANTED. Document #47. The

indictment against defendant Tyrone Aikens is hereby dismissed without prejudice.

       IT IS SO ORDERED this 9th day of July, 2010.




                                                   ___________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
